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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                   SOUTHERN DIVISION
                                        PIKEVILLE

 UNITED STATES OF AMERICA,                         )
                                                   )         Criminal No. 7-cr-35-3-GFVT
           Plaintiff,                              )    Related Civil No. 13-cv-7327-GFVT-CJS
                                                   )
 V.                                                )
                                                   )                 JUDGMENT
 PHILLIP G. CHAMPION,                              )
                                                   )
           Defendant.                              )


                                        *** *** *** ***

         Consistent with the Order entered contemporaneously herewith, and pursuant to Rule 58

of the Federal Rules of Civil Procedure, it is hereby ORDERED AND ADJUDGED as follows:

      1. Judgment is ENTERED in favor of the Respondent;

      2. A Certificate of Appealability is DENIED as to all issues raised by Petitioner; and

      3. All issues having been resolved, this case is STRICKEN from the active docket.

         This the 2nd day of February, 2016.
